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     UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF PUERTO RICO

      IN RE                                               BANKRUPTCY 19-01041 BKT
                                                          ADVERSARY # 20-0057
      LUIS J. VAZQUEZ URQUIA
      Debtor                                               CHAPTER 7
      NANCY J. GARGULA,
      U.S. TRUSTEE for Region 21
      Plaintiff

      vs

      LUIS J. VAZQUEZ URQUIA
      Defendant


                    DEFENDANT’s Second REQUEST FOR EXTENSION OF TIME to
                                    ANSWER COMPLAINT

     TO THE HONORABLE COURT:

             COMES NOW debtor DEFENDANT through his legal representation and respectfully
     prays thus:

           1. On May 7, 2020 at doc #1, Plaintiff, NANCY J. GARGULA, U.S. Trustee filed a 31-
              page Complaint which should be answered by extension on or before July 14, 2020.

           2. Debtor previously sought and obtained additional time due to the extensiveness of the
              Complaint’s 137 paragraphs, and its 5 counts of objections. Notwithstanding, it has been
              impossible to complete the Answer under the circumstances of the pandemic, and more
              recently a recurring eye condition that has not allowed counsel for defendant to correct
              her vision, other than through use of her contact lens during one entire week, until
              yesterday. With this recurring eye condition, counsel has no other means of correcting
              her vision due to the long years she has been using contact lenses and is disabled from
              reading or using the computer.

           3. Under the circumstances counsel has not be able to adequately draft an Answer and
              research affirmative defenses to so many counts under §727 as alleged in the Complaint
              for completion prior to July 14th, 2020, especially without our support staff currently
              unable to work remotely from her home or to work at our office.

           4. Under these circumstances, debtor requests an extension of time of at an additional 30
              days to complete and submit the Answer and/or dispositive motion to Trustee’s
              Complaint or on at least before August 13, 2020


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           WHEREFORE, debtor respectfully requests an extension of time to respond to Trustee’s
     Complaint filed at doc #1 and/or file a dispositive pleading, or until at least, August 13, 2020.

                                                    NOTICE

             Within fourteen (14) days after service as evidenced by the certification, and an
     additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any
     party against whom this paper has been served, or any other party to the action who objects to
     the relief sought herein, shall serve and file an objection or other appropriate response to this
     paper with the Clerk’s office of the U.S. Bankruptcy Court for the District of Puerto Rico. If no
     objection or other response is filed within the time allowed herein, the paper will be deemed
     unopposed and may be granted unless: (I) the requested relief is forbidden by law; (ii) the
     requested relief is against public policy; or (iii) in the opinion of the Court, the interest of justice
     requires otherwise.

            CERTIFICATE of SERVICE that on this same date I electronically filed the foregoing
     with the Clerk of the Court using the CmEcf Filing System which will send a notification, upon
     information and belief, of such filing to the following:

     MONSITA LECAROZ ARRIBAS ustpregion21.hr.ecf@usdoj.gov

     UNITED STATES TRUSTEE ustpregion21.hr.ecf@usdoj.gov

            In Caguas, Puerto Rico, this 13th day of July 2020.


                                                    s/ L.A. Morales
                                                    LYSSETTE MORALES VIDAL
                                                    USDC PR #120011

                                                    L. A. MORALES & ASSOCIATES P.S.C.
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